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                    EXHIBIT 2
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       Chart of Claim Elements Not Plausibly Alleged in Plaintiffs’ Amended Complaint

                      Claim                               Elements Not Plausibly Alleged

Third Claim for Relief: Unlawful Tying                 1. The well-pleaded facts underlying
Arrangement Concerning the Use of Large                   Plaintiffs’ tying claim do not describe
Amphitheaters and Artist Promotions Markets in            tying, but rather a lawful refusal to deal
Violation of Sherman Act § 1                              with rival promoters who seek to rent
                                                          amphitheaters from Live Nation so that
                                                          they may include those venues in their
                                                          artist-clients’ tours.
                                                       2. Plaintiffs fail to allege that there are
                                                          consumers—artists—who themselves
                                                          (a) wish to acquire the tying product
                                                          (amphitheater access) directly from Live
                                                          Nation and the tied product (other
                                                          promotional services) from another
                                                          promoter, (b) seek to enter into contracts
                                                          with Live Nation for the amphitheater
                                                          access alone, and (c) are presented with
                                                          terms obligating the purchase of the tied
                                                          product.

State Plaintiffs’ Claims for Damages Pursuant to 15    1. State Plaintiffs fail to allege that the
U.S.C. § 15c, for the following alleged violations:       consumers on whose behalf they sue
                                                          suffered an “antitrust injury.”
   •   First Claim for Relief: Monopolization of
       Primary Ticketing Services Markets in           2. State Plaintiffs fail to allege that the
       Violation of Sherman Act § 2                       consumers on whose behalf they sue are
                                                          “efficient enforcers” of the antitrust
   •   Second Claim for Relief: Unlawful
                                                          laws.
       Exclusive Dealing in Violation of Sherman
       Act § 1
   •   Third Claim for Relief: Unlawful Tying
       Arrangement Concerning the Use of Large
       Amphitheaters and Artist Promotions
       Markets in Violation of Sherman Act § 1
   •   Fourth Claim for Relief: Monopolization of
       the Market for the Use of Large
       Amphitheaters in Violation of Sherman Act
       §2
   •   Fifth Claim for Relief: Monopolization of
       the Markets for Concert Promotion Services
       in Violation of Sherman Act § 2
